       Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 1 of 10



SUPREME COURT DISTRICT T'OLJR'I'
SOUTHERN DISTRICT'OF NEW YORK
                                                -------------x
JOANNA TIJI-CZYNSKA.
                                                                 No. 17 CV 1669 (DAB)
                           Plaintifl.
       -against-


QUEENS HOSpt'r'AL CENI'ER. MOLINT SINAI IIIIALTH
SYSTEM INC.. PRTJDIINTIAL INSUITANCIl COMPANY
oF AMERTCA. ROSELYN MARQTJLZ. RTCARDO LO?L,Z^
JEAN FI-EISHCMAN. IIAtsIBUR RAHMAN.


                           ?:.1:l.1il"                ------x



          PLAINTIFF JOANNA TULCZYNSKA'S MEMORANDUM OF LAW
            IN SUPPORT OF HER MOTION FOR RECONSIDERATION




Dated: February 28. 2019




                                 II,ASZ & ASSOCIATES
                              COTJNSEI- FOR Pt-AIN'f IF'F
                             .IOANNA TUI,CZYNSKA
                                 I MAIDEN LANE
                           NhW YORK. NIiW YORK 1003u
                                   (212) 480-2222
Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 2 of 10



                         TABLE OF CONTENTS




Point   I
Plaintifls Motion To Reconsidcr Should Be Grar-rted

Point II
The Hospital Del-endants' Motion ShoLrld
        Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 3 of 10



                                 PRELIMINARY STATEMENT

        The Plaintiff. Joanna 1-ulcz1,'nska. brings the present actiorr against Def-endants eueens

Hospital Center ("QHC"). Mount Sinai Hcalth System lnc. ("Sinai") and the individual Def-endant

Doctors Ricardo Lopez. Jean Fleischman and Ilabibur Rahman (collectively. the "Hospital

Def-endants") tbr discriminating against her because of her Parkinson's Disease while she was

en'rployed as a doctor of puhnonologl' at Del-endants QHC and Sinai.

        In her Amended Complaint. the plaintill'brought inter uliu six cJisability discrimination

claims under the NYSHR[, and NYCHRI- against the t{ospital Defbndants based upon failure to

provide a reasonable accomniodation. disparate treatrnent. failure to promote. hostile work

environment. constructive/wronglul terrnination and aiding and abetting. The plaintilf allegecl that

the conduct giving rise to her disability discrimination clairns occurred in 2014. In their motion to

dismiss the Amended Contplaint. the Ilospital Del-endants subnrittec.l unauthenticated clocuments

purporting to show that the alleged discriminatory conduct occurred in 201    1.


       By decision entered Febrr"rary 14^2019. the Clor.ut considered the documents submitted by

the Hospital Defendants. held that plaintil]-s disability discrimination clainrs under the NySHRL

and NYCHR[- were time-barred by thc three year statute           of   lintitations and dismissed the

plaintift's Arnended Complaint

       Plaintilf respectlully subntits that thc Court or,,erlooked her argurlerrt that the statute of

lirnitations should be equitably'tolled as of the time that she w,as lbrced to take disability leave-

e.g.. when her Parkinson's Disease rendered her incapable of comprehending or pursuing her legal

rights in a timely manner. Plaintilf also respectfirlly subrnits that the Court overlooked the

significant. negative irnpact tliat the aggravation and exacerbation of her Parkinson's Disease had

on her memory and cognition.
         Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 4 of 10



        Because the CoLu't overlooked the equitable tolling argument and the significant negative

impact that Parkinson's Disease lras lTad on thc plaintills memory and cognition" plaintiffs

motion for reconsideration shoLrld be granted and. upon reconsideration.        tl-re   Hospital Defendants'

motion to dismiss the Amended Complaint should be denied.

                                              ARCUMENT

                                                 POINT I

                       Plaintiff s Motion To Reconsider Should Be Grantecl

        On a motion Ibr reconsideration brought pursuant to Local Rulc 6.3 or I,'RCP 59. a plaintifT

must demonstrate that the court overlooked controlling decisions or t'actr-ral matters that were put

before it on the underlying motion. Wci.;ner t'. 32 t Wcs't l(ttt' Slrect A.y.soc..,2000 U.S. Dist. LEXIS

15592- 2000   WI- 1585680 (Oct. 25. 2000 S.D.N.Y.). The standard lbr granting such a morion               is

strict. and reconsideration will generally be denied unless the rnoving pafiy can point to controlling

decisions or data that the court or''erlooked    -   rnatters. in other r.l,ords. that rnight reasonably be

expected to alter the conclusion reached by'the coLlrt. Shrutler r,. ('.5',Y Trutns'. lnc..,7O F.3d 255.

257 (2d Cir. 1995). Although a partl' seeking reconsideration may advert to controllilg decisions

or f-actual matters that were befbrc the court on thc unclerlying motion. the party rnay neither put

fbrth new f-acts. issues or argllnlents that were not presenterl to the court on that rnotion" nor revisit

issues tl,at tl-re court has already   lully considered such that the motion becomes a substitute fbr

appealing liom a linal-iudgment. lN/ai.;nar. supra.

        Here" the plaintiff respectfully sr-rbnrits that the Court ol,erlooked her equitable tolling

argument. as well as" the signilicant negative impact tliat Parkinsop's Disease has had on her

memory and cognition. Indeed. the February 14. 2Ol9 Decision disn,issipg the plai.tiffs
            Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 5 of 10



Amended Complaint not only lails to address the issr-re of tolling. it also lails to acknowledge the

eff-ects   of Parkinson's Disease on plaintiff s mer-nory and cognition.

           For these reasons. the plaintiff respectfirlly' asks this Court to reconsider the Hospital

Defendants' motion to dismiss the Antendcd Contplaint.

                                                  POINT II

                          The Hosrrital Defendants' Motion Should Be Denied


           In her Amended Complaint. the plaintiff allcged that the conduct giving rise to                 her

disability discrimination claims occurred in 2014. In their ntotiorr to disn-riss the Arnended

Cornplaint. the Flospital Def'endants sLrbmitted unauthenticated documenls purporling to sholl,that

the alleged discriminatory conduct occurred in 2011. In its Decision. the Court considered the

documents submitted b,v the Ilospital Defcndants. held that           plaintilfs disability discrimination

claims under the NYSHRL arrd NYCHRL w'ere time-barred b5,,the three ycar statute of limitations

and dismissed      plaintiff   s Amended Conrplaint.


           Plaintiff respectfirlly sr"rbmils that the statute of limitations should be equitably rolled   as   of
the time she took disability leave due to Parkinson's Disease since. at that time. she was rendered

unable to comprehend or pursue her discrimination claints against the Hospital Def-endants. It

must be noted here that. althor.rgh plaintiff did not conlmence this action r-rntil Febrr.rary 2017. her

disability discrimination claims only came to light w,hen hcr lanrily became aware of                      and

investigated the letter from the IRS stating that she owed back taxes.

           A plaintiff is entitled to equitable tolling of a statute of lirnitations if slie establishes two

elements: (1) that she has been pursuing her rights diligently and (2) tliat sonte extraordinary

circumstance stood in her way and prevented tirnely filing. See Merutntinee Inc{iun Triba o/ Wisc.
          Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 6 of 10



v. Ll.S., 136 S.Ct. 750.755 (2016).    See ul.so   Ellul   t,. ('ongrcgcrtion of ('hri.stitm Bros., 774 F.3d

791.801 (2d Cir. 2014).

          The second element of this test is met only u,here the circumstances causing plaintiffs

delay "are both extraordinary and beyond [her] control." il,leruminae, 136 S.Ct. al756. ..The term

'extraordinary'refers not to the uniqueness ola party's circumstances. but rather to the severity
                                                                                                  of
the obstacle impeding conipliance with a lirnitations        pcriod." Hurpcr     t'. Erc.ole,648 F.3d 132.

137 (2d   Cir. 2011) citing Bolurinv'u t'. Williunt; 593 Ir.3d 226.231-32 (2d Cir. 2010) and Diuz          t,.


Kelly,5l5 F.3d 149.       154 (2d Cir. 2008).      It is not sullicient lbr plaintilf to show,that        she

experienced extraordinary circuntstances    -   she must firrther demonstrate that those circuntstances

caused   herto misstheoriginal filingdeadline. Hurpct't'. Ercole,648 F.3d 132. 137 (2dCir.201l).

         Further, a plaintilf seeking equitable tolling must demonstrate a causal relationship

between the extraordinary circumstances on ll'hich the clainr fbr equitable tolling rests and the

lateness of her filing" a demonstration that cannot be made        if thc plaintifl. acting with   reasonable

diligence. could have filed on time uotu'ithstanding the extraordinary circumstance. Vult,erde             y.


Srinson, 244 F.3d 129. 134 (2d Cir. 2000).

         The Second Circuit has held that "eqr.ritable tolling may be appropriate where the plaintiff        s


lailure to comply with the shtLlte of limitations is attributable to the plaintifls medical condition."'

Brttvlt v. Purkc'he^ster S. Condos,287 F.3d 58. 60 (2c1 Cir. 2000). In cletermining whether to allow

tolling based on medical illness. a court nrust look lbr a "particLrlarized description of how

[plaintiff-s] condition adversely all'ected her capacity,lo lunction generally or in relationship to the

pursuit of her rights." I)rto^s t,. Runyon.20l F.3d 178. 185 (2d Cir.2000). See tilso Canule.s             t,.


Sullivun,936F.2d755^759 (2dCir. l99l)(highlightingthatthequestionofwhetherapersonis

sufliciently disabled to.iustify tolling of a limitation period is highly case specific). Particularly.



                                                    4
          Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 7 of 10



a   plaintiff s medical condition must be so severe         as   to impact the plaintiff   s   function such that they

are rendered unable to comprehend or purslle their legal              righls. Bltwn,    ZB7 F .3d      at 61.

         Here, the plaintiff was diagnosed with Parkinson's Disease. Despite her disability, the

plaintiff fully and competently performed her duties as a doctor of pulmolology. While fully and

competently performing her duties as                   a doctor of    puln-ronology,   tlie Hospital Defendants
unlawfully discriminated against her because of her Parkinson's Disease by inter alia engagingin

disparate treatment, creating      a hostile work environment, passing her over fbr her rightful
promotion to Chief of Pulrnonology, refusing to provicle her a reasonable acoommodation, etc.

The Hospital Defendants' conduct aggravated and exacerbated the                  plaintiff     s   Parkilson's Disease.

forcing her to take disability leave and rcnclering her unable to cornprehend or pursLle her legal

rights against thern.

         Parkinson's Disease is a progressive nervous system disorder. Syrnptoms of parkinson,s

Disease include tremors, slowed movement, rigid muscles, impaired posture and balance,
                                                                                       Ioss                          of
automatic movements, speech and writing changes. Parkinson's Disease                                     is also often
accompanied by additional problems including cognitive problents (dententia) and thinking

dfficulties, depression and emotional changes, swallowing, chewing and eating problenrs,                          sleep

problems and disorders. See               lrt(tti;/luryytv.rr)a1r11c lil1ii:.oi'g/clisclLsql:qqlrclit1a1lpar.kuuerls-

di scasc/s.ym   proms-c4!tsly.lyc2gI   .lOQ   I   !.
         Assuming the complained of discriminatory concluct occurred in the Summer/Fall of 201I

and that the    plaintiff took disability leave in December of 2013, the statute of limitations should

be equitably tolled on the basis that plaintilf s Parkinson's Disease severely affected
                                                                                        her mental

and cognitive capacity      - and rendered her unablc to comprehend or pursue her disability
discrimination claims against the Hospital Def-endants, as of the time she went out
                                                                                    o, disability in
           Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 8 of 10



December of 20l     3   - approximately six (6) months prior to the expiration of the three year statute

of lirnitations. Because the deterioration ol'plaintif f      s Parkinson's Disease rendered her unable to

comprehend or pursue her discrinrination claims agair-rst the Hospital Def.endar-rts during the statute

of limitations period. the statute of limitations should be tolle<i.

        Furlhermore. it must be stated that the plaintifT never intended to misrepresent tlie dates        of
the alleged discriminatory conduct. Rather. the plaintiff earnestly believed that she went on

disability at thc cnd of 2014   ar-rd   that the discrirninatory'events occurred in thc Suninier/Fall ol'that

year. Insol-ar as the plaintiff ntisremcrnbered the timing of these events. sanre is a direct result of

the deterioration of her nlemory and cognition due to Parkinson's Disease.

        In conclusiott. it is clear that the plaintiff suffers liom Parkinson's Disease. a progressive

and debilitating condition that has severely negatively impacted inter ctliu her cognition and

memory. How'ever. at a time when. despite her Parkinson"s Disease. the plaintilf was fully and

competently performing hcr dutics as              a doctor of    puln-ronology. the Hospital Defendants

unlawfully discriminated against her because of her Parkinson's Disease. The Hospital

Def-endants' unlawful conduct not only aggravated and exacerbated the plaintiff s Parkinson's

Disease,   it ultimately   caused her to take disability leave and rendered her unable to comprehend

or pursue her legal rights against thent.

        lJnder these circumstances. thc plaintiff respectfully asks this Court to: (a) llnd that

equitable tolling of the statute of limitations is warranted. (b) f-ind that hcr claims of disability

discrimination are not time barred. and (c) deny the Hospital Delbndants' motion to clismiss the

Amended Complaint.
        Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 9 of 10




                                        CONCLTISION

       For these foregoir-rg reasons. the plaintifl-s motion fbr reconsideration should be granted

and. upon reconsideration. the Hospital Defbndants'   rlotion   shor,rld be denied.

Dated: New York. New York
        February 28.   2019                           Respectfirlly submitted.
                                                      ILASZ & ASSOCIATES

                                                      By: /s/ [.ivius Ilasz
                                                               Livius Ilasz
                                                       I Maiden Lanc" 9tl'Floor
                                                      Ner.v York. New York 10038
                                                      ]'cl. (212) 480-2222
                                                      Counsel fbr the Plaintiff
                                                      .loanna Tulczynska
       Case 1:17-cv-01669-VSB Document 72 Filed 04/01/19 Page 10 of 10



                                 CERTIFICATE OF SERVICE

I. Livius Ilasz. an attorney. do hereby certify that I have   caused a true and correct copy   of the
fbregoing document to be llled using the CM/ECF systern. nhich w,ill automaticallv send email

notiflcation of such filing to all attorneys olrecord on February 2ti.20lg.



                                                              /s/ Livir"rs Ilasz
                                                              Livius Ilasz
